Case 2:10-md-02179-CJB-DPC Document 8963-15 Filed 03/20/13 Page 1 of 4




                   Exhibit 08B
Case 2:10-md-02179-CJB-DPC Document 8963-15 Filed 03/20/13 Page 2 of 4




        On January 11, 2013, BP met with Class Counsel to discuss the Class Counsels’

letter to you of December 16, 2012 and BP’s January 9, 2013 response regarding the

measurement of revenue and corresponding variable expenses and their comparison in

the pre and post-spill periods. BP presented the proposals set forth in its letter of January

9, 2013 (the “Proposals”).

        As we explained in our January 9, 2013 letter, the plain application of the

Settlement Agreement, which is consistent with basic principles of evaluating a firm’s

performance, dictate that revenues and corresponding expenses be properly determined

and matched in order to calculate actual lost profits under Exhibit 4C. BP’s Proposals set

forth specific methods for an efficient and fair determination to measure any reduction of

variable profit. Class Counsel were not willing to accept the Proposals. Notwithstanding

the reasonableness and efficiency of these Proposals, in a further effort to facilitate a

resolution of this issue, BP outlined in general terms a series of plainly ascertainable

triggers/thresholds which would identify the specific claims for which the Settlement

Program would apply the Proposals. Essentially, this approach would identify those

claims with recorded revenues and/or expenses that are sufficiently irregular such that the

further analysis of the claim is warranted. Class Counsel did not express an interest in

further exploring the application of these triggers/thresholds to augment the Proposals.

        Because the additional application of triggers/thresholds result in reducing the

number of claims being subject to further review, we present proposed triggers/thresholds

below for the Settlement Program’s consideration.1 Application of the

triggers/thresholds in conjunction with the Proposals will further enable the Settlement


1
 As noted above, BP only generally outlined these triggers/thresholds for Class Counsel, but did not
present the triggers/thresholds below in full.

                                                    1
Case 2:10-md-02179-CJB-DPC Document 8963-15 Filed 03/20/13 Page 3 of 4




Program to timely and efficiently make claims determinations in accordance with terms

of the Settlement Agreement.

       BP proposes the Settlement Program utilize three threshold tests to determine

whether further matching of revenue to corresponding variable expenses is required:

       First, additional scrutiny should occur for claims in which the claimant’s monthly

P&L statements report revenue in one month (or a small number of months) that is in

excess of a specified percentage of the claimant’s annual total revenue for 2010 and/or

any of the Benchmark Period years. Where the revenue of a business is concentrated in

one (or a few) months on an inconsistent annual basis, there is a likelihood the revenue

reported for the month was earned over a longer period of time. The threshold would be

set in a manner that ensures that normal seasonal variations in revenue would not trigger

a supplemental review. This threshold test can readily be implemented by the Settlement

Program because the PwC Excel workbook used to process claims already includes

entries reporting the claimant’s monthly revenue and total revenue for 2010 and the

Benchmark Period years.

       Second, additional scrutiny should occur for claims in which the claimant’s

monthly P&L statements report a negative variable profit in any month of 2010 and/or

the Benchmark Period years. Negative variable profit occurs when revenue fails to cover

variable costs. The existence of a negative variable profit in a month suggests that

reported revenue is not properly matched to corresponding variable costs because a

business would not be expected to undertake activities that fail to cover their variable

costs. However, negative variable profits may occur when firms report corrections to

revenue and expenses from prior months or record expenses that are properly considered



                                             2
Case 2:10-md-02179-CJB-DPC Document 8963-15 Filed 03/20/13 Page 4 of 4




to be incurred over a longer period. Simply put it is unlikely a firm is going to be selling

its product or offering its services at a loss, rather it is likely there is a mismatch of

revenues and corresponding variable expenses. This threshold test for further claim

review is easy for the Settlement Program to implement. The PwC Excel workbook used

to process claims already calculates the variable profit for each month of 2010 and the

Benchmark Period years.

        Third, additional scrutiny should occur for claims in which there is a wide

variation in the monthly variable profit margin (expressed as a percentage of revenue)

within a given year. Volatility in a firm’s variable profit margin indicate that reported

costs vary widely from month-to-month in a manner unrelated to revenue. Dramatic

swings in variable profit margin suggest that revenue is not properly matched to

corresponding variable costs. Under this test, a claim should be subject to further

scrutiny if in 2010 and/or any of the Benchmark Period years the difference between the

variable profit margin for the months with the highest and lowest variable profit margin

exceeds a specified range. The threshold would be sufficient wide so that typical month-

to-month variations in variable profit margins would not trigger a supplemental review.

This too is any easy test for the Settlement Program to implement. The PwC Excel

workbook used to process claims already reports the variable profit percentage for each

month of 2010 and the Benchmark Period years.




                                                3
